                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION

 In Re:                                           Case No. 19-70489-AKM-13

 Douglas W. Fritts
                                                  Chapter 13
  aka Douglas Fritts

 Debtor.                                          Judge Andrea K. McCord

                                 CERTIFICATE OF SERVICE

I certify that on September 6, 2022, a copy of the foregoing Notice of Mortgage Payment Change
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/parties may access this filing through the Court’s system:

          Lloyd Koehler, Debtor’s Counsel
          lloydkoehler@hotmail.com

          Robert P. Musgrave, Trustee
          ecf@chap13evv.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on September 6, 2022, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Douglas W. Fritts, Debtor
          1420 Delmar Avenue
          Evansville, IN 47712
                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
